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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CATALINA MARKETING CORPORATION :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CATALINA MARKETING                                           :
PROCUREMENT, LLC                                             :   Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CATALINA MARKETING                                           :
TECHNOLOGY SOLUTIONS, INC.                                   :   Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CATALINA MARKETING                                           :
WORLDWIDE, LLC                                               :   Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X




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------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CELLFIRE INC.                                                :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CHECKOUT HOLDING CORP.                                       :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
MODIV MEDIA, INC.                                            :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
PDM GROUP HOLDINGS CORPORATION :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
PDM HOLDINGS CORPORATION                                     :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X


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------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
PDM INTERMEDIATE                                             :
HOLDINGS A CORPORATION                                       :   Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
PDM INTERMEDIATE                                             :
HOLDINGS B CORPORATION                                       :   Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
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                      MOTION OF DEBTORS PURSUANT TO
                  FED R. BANKR. P. 1015(b) FOR ENTRY OF ORDER
             DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

                   Checkout Holding Corp. and its affiliated debtors in the above-captioned chapter

11 cases, as debtors and debtors in possession (collectively, the “Debtors”), respectfully

represent as follows in support of this motion (the “Motion”):

                                                 Background

                   1.     On the date hereof (the “Petition Date”), the Debtors each commenced

with the United States Bankruptcy Court for the District of Delaware (the “Court”) a voluntary

case under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The

Debtors are authorized to continue to operate their businesses and manage their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee,

examiner, or statutory committee of creditors has been appointed in these chapter 11 cases.



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                   2.   Before the Petition Date, the Debtors, with the support of their secured

lenders, began the solicitation of votes on their Joint Prepackaged Chapter 11 Plan of Checkout

Holding Corp. and Its Affiliated Debtors (the “Prepackaged Plan”), through their Disclosure

Statement for Joint Prepackaged Chapter 11 Plan of Checkout Holding Corp. and Its Affiliated

Debtors pursuant to sections 1125 and 1126(b) of the Bankruptcy Code. The Debtors expect that

the Prepackaged Plan will be accepted by all classes entitled to vote in excess of the statutory

thresholds specified in section 1126(c) of the Bankruptcy Code.           Consistent with their

obligations under that certain Restructuring Support Agreement, dated as of December 11, 2018

(as amended from time to time and including all exhibits thereto, the “RSA”), the Debtors are

seeking to emerge from chapter 11 on an expedited timeframe.

                   3.   Information regarding the Debtors’ business and capital structure and the

circumstances leading to the commencement of these chapter 11 cases is set forth in the

Declaration of Robert A. Del Genio (the “Del Genio Declaration”), which has been filed with

this Court contemporaneously with the Motion.

                                           Jurisdiction

                   4.   The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant

to 28 U.S.C. § 157(b) and, pursuant to rule 9013–1(f) of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the Debtors consent to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments consistent with Article III of the United States

Constitution. Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

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                                              Relief Requested

                   5.     By this Motion, pursuant to rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rule 1015-1, the Debtors request

joint administration of their chapter 11 cases for procedural purposes only. In addition, the

Debtors respectfully request that the Court maintain one file and one docket for all of the jointly

administered cases under the same number assigned to Checkout Holding Corp., and that these

chapter 11 cases be jointly administered under the following consolidated caption:

                        IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------ X
                                                             :
In re                                                        : Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              : Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  : Joint Administration Requested
                                                             :
------------------------------------------------------------ X
1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.

                   6.     The Debtors also seek this Court’s direction that a notation substantially

similar to the following be entered on the docket in each of the above-captioned cases (except the

chapter 11 case of Checkout Holding Corp.) to reflect the joint administration of these cases:

                   An order has been entered in this case directing the procedural
                   consolidation and joint administration of the chapter 11 cases of
                   Catalina Marketing Corporation; Catalina Marketing Procurement,
                   LLC; Catalina Marketing Technology Solutions, Inc.; Catalina
                   Marketing Worldwide, LLC; Cellfire Inc.; Checkout Holding
                   Corp.; Modiv Media, Inc.; PDM Group Holdings Corporation;
                   PDM Holdings Corporation; PDM Intermediate Holdings A
                   Corporation; and PDM Intermediate Holdings B Corporation. The

                                                        5
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                   docket in Case No. 18-[______] (___) should be consulted for all
                   matters affecting this case.

                   7.     The Debtors reserve all rights to file a subsequent motion seeking

authority to jointly administer their cases with additional cases if the circumstances warrant

doing so.

                   8.     A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).

                                      Basis for Relief Requested

                   9.     As set forth in the Del Genio Declaration, the Debtors operate as an

integrated business with common ownership and control and a number of shared financial and

operational systems. As a result, many of the motions, hearings, and orders in these cases will

affect each and every Debtor. Joint administration of these chapter 11 cases therefore will

reduce fees and costs by avoiding duplicative filings, objections, notices, and hearings. Joint

administration will also allow the United States Trustee for the District of Delaware and all other

parties in interest to monitor these chapter 11 cases with greater ease and efficiency.

                   10.    Under section 105(a) of the Bankruptcy Code, “[t]he court may issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.” Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more petitions are

pending in the same court by or against . . . a debtor and an affiliate, the court may order a joint

administration of the estates.” Fed. R. Bankr. P. 1015(b). As set forth in the Del Genio

Declaration, the eleven (11) Debtors in these chapter 11 cases are “affiliates” as that term is

defined in section 101(2) of the Bankruptcy Code. Accordingly, this Court is authorized to grant

the relief requested herein.

                   11.    In addition, Local Rule 1015-1 provides, in relevant part, as follows:


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                   An order of joint administration may be entered, without notice
                   and an opportunity for hearing, upon the filing of a motion for joint
                   administration . . . supported by an affidavit, declaration or
                   verification, which establishes that the joint administration of two
                   or more cases pending in this Court under title 11 is warranted and
                   will ease the administrative burden for the Court and the parties.

Del. Bankr. L.R. 1015-1.

                   12.    Moreover, joint administration will not adversely affect the Debtors’

respective constituencies because this Motion requests only administrative—and not

substantive—consolidation of the Debtors’ estates. For example, any creditor may still file a

claim against a particular Debtor or its estate (or against multiple Debtors and their respective

estates) and intercompany claims among the Debtors will not be affected by joint administration.

                                                  Notice

                   13.    Notice of this Motion shall be provided to (i) the Office of the United

States Trustee for the District of Delaware; (ii) the holders of the five (5) largest secured claims

against the Debtors (on a consolidated basis); (iii) the holders of the thirty (30) largest unsecured

claims against the Debtors (on a consolidated basis); (iv) Jones Day, 250 Vesey Street, New

York, NY 10281 (Attn: Scott J. Greenberg, Esq. and Michael J. Cohen, Esq.) and Pachulski

Stang Ziehl & Jones LLP, 919 N. Market Street, Wilmington, DE 19801 (Attn: Laura Davis

Jones, Esq.), as counsel to the DIP lenders and the ad hoc group of lenders under the First Lien

Credit Agreement; (v) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the

Americas, New York, NY 10019 (Attn: Brian S. Hermann, Esq.) and Young Conaway Stargatt

& Taylor LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware, 19801 (Attn.:

Pauline K. Morgan, Esq.), as counsel to an ad hoc group of certain holders of term loans under

the Second Lien Term Loan, dated as of April 9, 2014; (vi) Davis Polk & Wardwell LLP, 450

Lexington Ave, New York, NY 10017 (Attn: Brian M. Resnick, Esq.) and Landis Rath & Cobb


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LLP, 919 Market Street, Wilmington, DE 19801 (Attn: Adam Landis, Esq. and Kerri Mumford,

Esq.), as counsel to JPMorgan Chase Bank, N.A., as administrative agent under the First Lien

Credit Agreement; (vii) Wilmer Cutler Pickering Hale and Dorr LLP, 7 World Trade Center, 250

Greenwich Street, New York, NY 10007 (Attn: Andrew N. Goldman, Esq.), as counsel to

Wilmington Savings Fund Society, FSB, as administrative agent under the Second Lien Credit

Agreement; (viii) Debevoise & Plimpton LLP, 919 Third Avenue, New York, NY 10022 (Attn:

My Chi To, Esq.), as counsel to an ad hoc group of holders of the HoldCo PIK Toggle Notes of

PDM Intermediate Holdings B Corporation; (ix) the Internal Revenue Service; (x) the United

States Attorney’s Office for the District of Delaware; (xi) the Banks; and (xii) any other party

entitled to notice pursuant to Local Rule 9013-1(m) (collectively, the “Notice Parties”). As this

Motion is seeking “first day” relief, the Debtors will serve copies of this Motion and any order

entered in respect of the Motion as required by Local Rule 9013-1(m). The Debtors submit that,

in view of the facts and circumstances, such notice is sufficient and no other or further notice

need be provided.

                   14.   No previous request for the relief sought herein has been made by the

Debtors to this or any other court.

                            [Remainder of Page Intentionally Left Blank.]




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                   WHEREFORE the Debtors respectfully request entry of the Proposed Order in

the form attached hereto as Exhibit A granting the relief requested herein and such other and

further relief as this Court may deem just and appropriate.

Dated: December 12, 2018
       Wilmington, Delaware

                                                   /s/ Jason M. Madron
                                            Mark D. Collins (No. 2981)
                                            Jason M. Madron (No. 4431)
                                            RICHARDS, LAYTON & FINGER, P.A.
                                            One Rodney Square
                                            920 North King Street
                                            Wilmington, Delaware 19801
                                            Telephone: (302) 651-7700
                                            Facsimile: (302) 651-7701

                                            -and-

                                            Gary T. Holtzer (pro hac vice admission pending)
                                            Ronit J. Berkovich (pro hac vice admission pending)
                                            Jessica Liou (pro hac vice admission pending)
                                            Kevin Bostel (pro hac vice admission pending)
                                            WEIL, GOTSHAL & MANGES LLP
                                            767 Fifth Avenue
                                            New York, New York 10153
                                            Telephone: (212) 310-8000
                                            Facsimile: (212) 310-8007

                                            Proposed Attorneys for Debtors
                                            and Debtors in Possession




                                                 9
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                                         Exhibit A

                                      Proposed Order




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

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                                                             :
In re                                                        :
                                                             :   Chapter 11
CATALINA MARKETING CORPORATION :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CATALINA MARKETING                                           :
PROCUREMENT, LLC                                             :   Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CATALINA MARKETING                                           :
TECHNOLOGY SOLUTIONS, INC.                                   :   Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CATALINA MARKETING                                           :
WORLDWIDE, LLC                                               :   Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X




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------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CELLFIRE INC.                                                :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
CHECKOUT HOLDING CORP.                                       :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
MODIV MEDIA, INC.                                            :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
PDM GROUP HOLDINGS CORPORATION :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :   Chapter 11
PDM HOLDINGS CORPORATION                                     :
                                                             :   Case No. 18-[_____] (___)
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X



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                                                             :
In re                                                        :
                                                             :     Chapter 11
PDM INTERMEDIATE                                             :
HOLDINGS A CORPORATION                                       :     Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X
                                                             :
In re                                                        :
                                                             :     Chapter 11
PDM INTERMEDIATE                                             :
HOLDINGS B CORPORATION                                       :     Case No. 18-[_____] (___)
                                                             :
                  Debtor.                                    :
                                                             :
Fed. Tax Id. No. XX-XXXXXXX                                  :
------------------------------------------------------------ X

                  ORDER PURSUANT TO FED. R. BANKR. P. 1015(b)
             DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

                   Upon the motion (the “Motion”)1 of Checkout Holding Corp. and its affiliated

debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

(collectively, the “Debtors”), pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”), for an order directing joint administration of their chapter 11 cases, all as more

fully set forth in the Motion; and this Court having jurisdiction to consider the Motion and the

relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware


1
  Capitalized terms used, but not otherwise defined, herein shall have the same meanings ascribed to such terms in
the Motion.




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dated February 29, 2012; and consideration of the Motion and the relief requested therein being a

core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion having been given as provided

in the Motion, and such notice having been adequate and appropriate under the circumstances;

and it appearing that no other or further notice need be provided; and this Court having reviewed

the Motion; and a hearing having been held to consider the relief requested in the Motion (the

“Hearing”); and upon the Del Genio Declaration filed contemporaneously with the Motion, the

record of the Hearing, and all of the proceedings had before this Court; and this Court having

found and determined that the relief sought in the Motion is in the best interests of the Debtors,

their estates, creditors, and all parties in interest, and that the legal and factual bases set forth in

the Motion establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.   The Motion is granted as set forth herein.

                   2.   The above-captioned chapter 11 cases are consolidated for procedural

purposes only and shall be jointly administered by the Court under Case No. 18-[_____].

                   3.   Nothing contained in this Order shall be deemed or construed as directing

or otherwise affecting the substantive consolidation of any of the Debtors’ cases.

                   4.   The caption of the jointly administered cases shall read as follows:




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                        IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------ X
                                                             :
In re                                                        : Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              : Case No. 18-[_____] (___)
                                                             :
                  Debtors.1                                  : Joint Administration Requested
                                                             :
------------------------------------------------------------ X
1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.

                   5.     A docket entry shall be made in each of the above-captioned cases (except

the chapter 11 case of Checkout Holding Corp.) as follows:

                   An order has been entered in this case directing the procedural
                   consolidation and joint administration of the chapter 11 cases of
                   Catalina Marketing Corporation; Catalina Marketing Procurement,
                   LLC; Catalina Marketing Technology Solutions, Inc.; Catalina
                   Marketing Worldwide, LLC; Cellfire Inc.; Checkout Holding
                   Corp.; Modiv Media, Inc.; PDM Group Holdings Corporation;
                   PDM Holdings Corporation; PDM Intermediate Holdings A
                   Corporation; and PDM Intermediate Holdings B Corporation. The
                   docket in Case No. 18-[______] (___) should be consulted for all
                   matters affecting this case.

                   6.     The Debtors are authorized to take all action necessary to carry out this

Order.

                   7.     This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation and/or enforcement of this Order.


Dated: ______________, 2018
       Wilmington, Delaware
                                                     ____________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE



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